                                                                              Case 3:06-cr-00144-JSW          Document 56      Filed 08/11/06     Page 1 of 1



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                                                                         6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9   UNITED STATES OF AMERICA,                              No. CR 06-00144-1 JSW
                                                      10                                   Plaintiff,                               ORDER PRODUCING
                                                                                                                                    DOCUMENTS RESPONSIVE TO
                                                      11                       v.                                                   SUBPOENA
United States District Court




                                                      12                     RENATO MENDOZA MEDINA,
                                                      13                                   Defendant.
                               For the Northern District of California




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                                                      15                            On May 16, 2006, the Court issued an order granting in part and denying in part a
                                                      16                     motion for the issuance of a subpoena pursuant to Federal Rule of Criminal Procedure 17(c).
                                                      17                     The Court has received additional documents responsive to that request and by this Order orders
                                                      18                     those documents to be turned over to Defendant Renato Mendoza Medina.
                                                      19                            The Court also finds that based on the Defendant’s previous representations to the Court,
                                                      20                     the documents need not be produced at this time, but Defendant shall be required to comply
                                                      21                     with Federal Rule of Criminal Procedure 16’s requirements regarding disclosure of documents.
                                                      22                            IT IS SO ORDERED.
                                                      23
                                                      24                     Dated: August 11, 2006
                                                                                                                                    JEFFREY S. WHITE
                                                      25                                                                            UNITED STATES DISTRICT JUDGE
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